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                     United States Court of Appeals
                                      For the First Circuit
                                         _____________________

      No. 15-1823
                              STUDENTS FOR FAIR ADMISSIONS, INC.,

                                             Plaintiff, Appellee,

                                                      v.

       PRESIDENT AND FELLOWS OF HARVARD COLLEGE (HARVARD CORPORATION),

                                           Defendant, Appellee;

         SARAH COLE; FADHAL MOORE; ARJINI KUMARI NAWAL; ITZEL VASQUEZ-
      RODRIGUEZ; KEYANNA WIGGLESWORTH; M.B.; K.C.; Y.D.; G.E.; A.G.; I.G.; R.H.; J.L.;
                                     R.S.,

                                           Movants, Appellants.
                                           __________________

                                               JUDGMENT

                                        Entered: December 9, 2015

              This cause came on to be heard on appeal from the United States District Court for the
      District of Massachusetts and was argued by counsel.

               Upon consideration whereof, it is now here ordered, adjudged and decreed as follows: The
      district court's judgment is affirmed.


                                                           By the Court:

                                                           /s/ Margaret Carter, Clerk


      cc: Mr. Adegbile, Mr. Caldwell, Mr. Connolly, Mr. Consovoy, Mr. Culleen, Ms. Ellsworth, Mr.
      Espinoza-Madrigal, Mr. Fletcher, Mr. Greenbaum, Mr. Hall, Ms. Lane, Mr. Mayer, Mr. McCarthy,
      Mr. Owings, Ms. Perkins, Mr. Sanford, Mr. Strawbridge, Mr. Waxman, Mr. Winik & Mr. Wolfson.
